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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA,                      )
                                   )
           Plaintiff,              )
                                   )
v.                                 )         Case No. 1:23-cv-00038 (APM)
                                   )
DONALD J. TRUMP, et al.,           )
                                   )
           Defendants.             )
                                   )

                 MEMORANDUM IN SUPPORT OF
     DEFENDANT PRESIDENT DONALD TRUMP’S MOTION FOR STAY
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STAFF OF S. COMM. ON HOMELAND SEC. & GOV’T AFFS. AND S. COMM. ON RULES AND

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      As Plaintiff has admitted, this case involves similar allegations to those made

in the criminal indictment against President Trump in Washington, D.C., on August

2, 2023. Due to these similarities and the issues presented by concurrent criminal

and civil litigation, this case should be stayed until the conclusion of those criminal

proceedings.

      Absent a stay, President Trump will be placed in the untenable position of fully

litigating this case and risking his criminal defense, or pleading the Fifth

Amendment and hampering his chance of success in this case. Such a dilemma should

especially be avoided when it involves a former President of the United States and

current frontrunner, presidential candidate for the Republican Party in 2024. Never

in our Nation’s history have we seen the Department of Justice, overseen by a

political appointee appointed by the sitting President, target the sitting President’s

chief political rival with criminal charges. Thus, it is imperative that President

Trump be able to defend the criminal case fully, without the burden of defending

overlapping civil litigation.

      The appearance of justice to the public in the resolution of these cases is

crucial, and the appearance of justice requires staying this case. This delay will only

minimally burden Plaintiff, as she will eventually have her day in court. Moreover,

Plaintiff waited nearly two years to bring these allegations; she should not now be

heard to complain of any delay occasioned by DOJ’s prosecution when she herself

showed little urgency. As for President Trump, however, he only gets one chance to

clear his name of these criminal charges and may only present one defense in each of



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these cases. Accordingly, President Trump respectfully requests that this Court stay

this case, at lease insofar as it relates to him, for the duration of the criminal

proceedings in United States v. Donald J. Trump, Case No. 1:23-cr-00257.


                                   BACKGROUND


      Presidents are expected to take advantage of the bully pulpit. As our nation’s

chief executives, Presidents routinely comment on election results and petition

Congress to act (or refrain from acting) in various ways. Yet, Plaintiff wrongfully

alleges that President Trump’s January 6, 2021 speech, which expressed his strongly

held belief in the insecurity and lack of integrity of the 2020 Presidential election and

specifically called for peaceful conduct, amounted to an incitement to violence. Compl.

¶¶ 2-4.

      Plaintiff alleges President Trump’s statements and lawsuits challenging

election results called for “express violence,” but she failed to allege any actual words

spoken by President Trump to justify that legal conclusion. This is because the actual

language of President Trump’s speech cannot be squared with that conclusory

allegation.1




      1 Read: Former President Donald Trump’s January 6 speech, CNN (Feb. 8,
2021, 6:16pm), https://www.cnn.com/2021/02/08/politics/trump-january-6-speech-
transcript/index.html; Thompson v. Trump, 590 F. Supp 3d 46, 83 (D.D.C. 2022)
(stating that the court has considered President Trump’s speech in its entirety,
beyond the words stated in the Complaint); see also Oral Argument Transcript at
64:5-7, Blassingame v. Trump, Case No. 22-5069 (D.C. Cir. Dec. 7, 2022) (Katsas, J.:
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      Plaintiff incorrectly alleges that President Trump intimidated and threatened

state and local election officials by exerting political pressure on them to ensure that

their elections were properly carried out and certified. Id. at ¶¶ 2, 34, 144. Plaintiff

further alleges that President Trump is vicariously responsible for the death of

United States Capitol Police Officer Brian Sicknick. Compl. ¶¶ 120-135. Plaintiff

alleges that President Trump is responsible for Officer Sicknick’s death because he

purportedly incited the riot that Plaintiff allege caused Officer Sicknick’s death,

despite a medical report that concluded that Officer Sicknick passed away due to

natural causes. Id. at ¶¶ 130, 110.

      President Trump moved to dismiss these allegations on April 3, 2023. That

motion is currently pending before this Court. Meanwhile, on August 1, 2023, the

Government charged President Trump with conspiracy to defraud the United States;

conspiracy to obstruct an official proceeding; obstruction of, and attempt to obstruct,

an official proceeding; and conspiracy against rights. See Dkt. No. 43.1. The alleged

conduct in the indictment overlaps substantially with Plaintiff’s allegations. Both

cases involve overarching theories based on conspiracies to interfere with Congress’

certification of the 2020 election.




“[Y]ou just print out the speech, which I have done, and read the words on the page,
it doesn’t look like it would satisfy the [Brandenburg] standard, right?”); id. at
74:21-25 (Rogers, J.: “You acknowledge I think that the statement, the actual words
used by the President, are not what the crowd actually did. In other words, the
President didn’t say break in, didn’t say assault members of Congress, assault
Capitol Police, or anything like that.”).
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      At the heart of both cases is the fact that President Trump was and is a vocal

proponent of election integrity, as well as public safety and law and order. Indeed,

the Senate Homeland Security and Governmental Affairs Committee jointly with the

Senate Rules and Administration Committee released a staff report (“HSGA Report”)

exonerating President Trump of involvement in the January 6 security failures.2 In

pertinent parts, the HSGA Report found that President Trump had delegated the

ability to use emergency powers, a lead federal agency had been designated to deal

with the security concerns around the January 6 counting of electoral ballots, and

President Trump personally asked if the security was ready on January 3.3

Additionally, President Trump authorized the use of the national guard and

encouraged law enforcement to coordinate and prepare accordingly for any

eventuality on January 6, 2021.

      Overall, President Trump’s conduct on and leading up to January 6, 2021, is

pertinent to both proceedings. Accordingly, President Trump now moves to stay this

civil proceeding so that his right to protect himself in this proceeding does not impinge

on his ability to defend himself against these unprecedented criminal charges.




      2 STAFF OF S. COMM. ON HOMELAND SEC. & GOV’T AFFS. AND S. COMM. ON

RULES AND ADMIN., 117TH CONG., REP. ON EXAMINING THE U.S. CAPITOL ATTACK: A
REVIEW OF THE SECURITY, PLANNING, AND RESPONSE FAILURES ON JANUARY 6, at 77
(2021).
      3 Id.



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                                      ARGUMENT


   I.      The Court has Authority to Issue a Stay.

        “The Court has the discretion to stay civil proceedings in the interest of justice

and ‘in the light of the particular circumstances of the case.’” Doe v. Sipper, 869 F.

Supp. 2d 113, 115 (D.D.C. 2012) (quoting Sec. & Exch. Comm’n v. Dresser Indus.,

Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980)). This is because “the power to stay

proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket.” Landis v. N. Am. Co., 299 U.S. 248, 254

(1936). The Court may “stay civil proceedings, postpone civil discovery or impose

protective orders and conditions when the interests of justice seem to require such

action.” Kurd v. Republic of Turkey, 2022 WL 17961245, at *1 (D.D.C. Dec. 27, 2022)

(quoting Sec. & Exchange Comm’n, 628 F.2d at 1375). A court may stay civil litigation

while a criminal matter is also pending because “the denial of a stay [in the civil case]

could impair a party’s Fifth Amendment privilege against self-incrimination, extend

criminal discovery beyond the limits set forth in Federal Rule of Criminal Procedure

16(b), expose the defense’s theory to the prosecution in advance of trial, or otherwise

prejudice the criminal case.” Id.

        There are four factors a court should consider when determining whether to

stay a civil proceeding due to a related criminal proceeding: “1) the relationship

between the civil and criminal actions; 2) the burden on the court; 3) the hardships

or inequalities the parties would face if a stay was granted; and 4) the duration of the

requested stay.” Sipper, 869 F. Supp. 2d at 116. The Court must weigh the

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circumstances of each case when making this decision. Sec. & Exchange Comm’n, 628

F.2d at 1375.


   II.      A Stay is Warranted to Avoid Interference with the Criminal
            Proceedings Against President Trump.

         Analyzing each factor previously set out by the D.C. Circuit, it is clear that this

case must be stayed. Here, the allegations in the civil and criminal actions overlap

substantially, which is hardly surprising as they arise from substantially similar

events. Forcing President Trump to defend this case while simultaneously defending

a criminal prosecution based on related conduct would undoubtedly compromise

either his right to defend himself in this case, his criminal defense, or both.

Accordingly, President Trump respectfully requests that this Court stay this case, at

least insofar as it relates to President Trump, until final resolution of his criminal

proceedings.


            a.     The criminal proceedings against             President     Trump     are
                   inextricably related to this action.

         This Court has previously held that the relationship of the criminal and civil

cases is the most significant factor when considering whether a stay is warranted.

Sipper, 869 F. Supp. 2d at 116 (citing Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7

F. Supp. 2d 523, 528 (D.N.J. 1998)). This is especially true when the criminal

proceedings are post-indictment. Id. When the case is post-indictment, this Court has

recently held that this factor “weighs heavily in favor of a stay.” Kurd, 2022 WL

17961245, at *2.



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       Here, there is significant overlap between Plaintiff’s case and the criminal

indictment against President Trump. Indeed, Plaintiff has conceded this point, noting

in a previous filing that the indictment against President Trump “relat[es] to the

subject matter of this case.” Dkt. No. 43. Nor could Plaintiff have denied that; this

civil litigation involves substantially similar allegations that the Government is using

as the basis for charging President Trump criminally.

      In broad strokes, both the criminal indictment and the civil litigation at issue

in this case discuss alleged conspiracies to interfere with the Congress’ certification

of the 2020 election. While the criminal indictment and the civil litigation differ

somewhat in their details, they both focus on substantially similar issues. Because of

these similarities, requiring President Trump to defend both cases simultaneously

would place him in an untenable position. He would have to choose between asserting

his Fifth Amendment rights in the civil litigation to focus on the criminal litigation

or consider waiving his Fifth Amendment right to avoid an adverse inference that

may interfere with his defense in this civil litigation.

      The overlap in factual allegations and potential discovery means that, absent

a stay, President Trump could be compelled simultaneously to defend similar

allegations in two proceedings or potentially impair his criminal defense by exposing

in the civil litigation defenses applicable to his criminal case. This is especially

problematic since criminal and civil discovery differ drastically, including in what

may be compelled from a civil defendant versus a criminal defendant.




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      The Fifth Amendment right is foundational to this nation’s dedication to the

rule of law. President Trump has been indicted, which at a minimum raises a realistic

possibility of criminal prosecution sufficient to justify the application of the Fifth

Amendment. See Pillsbury Co. v. Conboy, 459 U.S. 248, 266 n. 1 (1983) (Marshall, J.

concurring); see also Kastigar v. U.S., 406 U.S. 441, 465-66 (1972) (Douglas, J.

dissenting). He may invoke this right upon his reasonable belief that any testimony

or documents he would be called upon to provide might tend to incriminate him or

furnish a link in the chain to a prosecution against him and would provide testimonial

information to the Government. See Ohio v. Reiner, 532 U.S. 17, 21 (2001).

Interrogatories, requests for production, and depositions, all classic civil litigation

discovery tools, would thus implicate President Trump’s Fifth Amendment rights.

      While President Trump would be entitled to a presumption of innocence during

his criminal trial that would include preventing any judge or jury from inferring any

negative connotation from his invocation of his Fifth Amendment rights, the same is

not true in a civil case. Rather, in a civil case, inferences may be drawn against a

defendant who asserts his Fifth Amendment right. Allowing such an inference

against President Trump, or any litigant, during an ongoing criminal trial would

unfairly require them to choose between their Fifth Amendment protection or the

civil litigation. This would directly undermine a key tenant of the Fifth Amendment

protection—the privilege offers protection to “innocent men … ‘who otherwise might

be ensnared by ambiguous circumstances.’” Reiner, 532 U.S. at 21 (2001) (emphasis

in original) (citing Grunewald v. United States, 353 U.S. 391, 421 (1957)).



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      A stay of all proceedings in this case pending the resolution of the criminal

charges against President Trump, however, would avoid any need for this Court to

consider these dilemmas as they arise. Therefore, this factor “weighs heavily in favor

of a stay.” Kurd, 2022 WL 17961245, at *2.


          b.    Proceeding with this case would burden the Court.

      Proceeding with this case, at this time, would present this Court with

significant burdens. The Court has an interest in resolving individual cases

efficiently. A stay prevents the Court from needing to hear various disputes. See

Sipper, 869 F. Supp. 2d at 117 (holding that “the Court has an interest in avoiding

unnecessary litigation that would burden its docket and hamper judicial economy.”)

(citations omitted). Proceeding with this case now would result in various privilege

battles. President Trump would assert his Fifth Amendment rights to block any

discovery from Plaintiff, burdening the Court with a “constant stream of privilege

issues.” Walsh Sec., Inc., 7 F. Supp. 2d at 528. But this would be only a temporary

state of affairs that a stay would prevent. See Aluminum Bahrain B.S.C. v. Dahleh,

2012 WL 5305167, at *2 (W.D. Pa. 2012) (recognizing that criminal defendants will

be able to candidly participate in the discovery process following the criminal trial).

Further, absent a stay there would be various discovery disputes regarding witnesses,

protective orders, and other privileges, which “might well prove wholly duplicative

and unnecessary.” Estate of Gaither ex rel. Gaither v. District of Columbia, 2005 WL

3272130, at *6 (D.D.C. Dec. 2, 2005).




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      Alternatively, the criminal proceeding could streamline discovery in this case.

The cases involve similar issues; thus, any discovery in the criminal case will likely

reduce the need for a large amount of discovery in this case. See Estate of Gaither ex

rel. Gaither, 2005 WL 3272130, at *4. Therefore, “judicial economy and the

convenience of the court” weighs in favor of a stay. Id.


          c.     The balance of interests weighs in favor of a stay.

      While there are many factors to consider when weighing the parties’ interests,

perhaps the most significant factor is how a defendant’s constitutional right under

the Fifth Amendment will impact the civil proceedings. Sipper, 869 F. Supp. 2d at

117-18. This is because it is “not fair to force party to choose between Fifth

Amendment privilege and the civil action.” Id. at 117 (citing Wehling v. Columbia

Broad. Sys., 608 F.2d 1084, 1088–89 (5th Cir. 1979)). In Sipper, this concern

outweighed the plaintiff’s interest in a quick resolution. Id.

      Likewise, in any discovery in this case, President Trump will now need to

assert his Fifth Amendment right so as not to harm his defense in the criminal

proceeding against him. This will allow the jury to draw a negative inference against

him, harming his chance of success in this litigation. Such a dilemma is not

appropriate and is one that this Court should avoid.

      Further, any concern that Plaintiff may have in a quick resolution of this case

is strongly undermined by Plaintiff’s own lack of urgency in bringing this case.

Plaintiff waited nearly two years to file suit, despite others bringing similar claims

much earlier. See Estate of Gaither ex rel. Gaither, 2005 WL 3272130, at *4.

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      Additionally, a stay will benefit Plaintiff. As discussed, the criminal proceeding

may establish many factual issues at stake in this civil proceeding, alleviating either

Defendant’s or Plaintiff’s requirement to do so, and ultimately conserving resources.

Essentially, as noted above, the criminal proceeding will streamline discovery in this

case. Thus, Plaintiff will only be minimally burdened by a stay; however, the potential

consequences to President Trump, if this case is not stayed, would be substantial.

Therefore, the burden weighs in favor of a stay.

      Lastly, the Court may consider the public interest in a stay. Sipper, 869 F.

Supp. 2d at 118. It is in the public interest for the Court to stay this case, so that

President Trump may pursue his rights in the criminal proceeding diligently without

considering the issues presented in this civil litigation. President Trump is a former

President and current frontrunner candidate for the Republican Party nomination

for President in 2024. The implications of the indictment on President Trump are

tremendous. The appearance of justice is often as important as justice itself. As

discussed above, if President Trump is hampered by the civil litigation issues

presented in this case, or worse, forced to choose between presenting his strongest

defense in one case or the other, the appearance of justice could easily be damaged.

Accordingly, it is in the public interest to allow President Trump to defend the

criminal proceeding against him without the burden of this case.


          d.    Duration of stay

      This case must be stayed for the duration of President Trump’s criminal

proceedings in the indictment in United States v. Donald J. Trump, Case No. 1:23-cr-

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00257.4 As this Court has found, “the strongest case for deferring civil proceedings

until after completion of criminal proceedings is where a party under indictment for

a serious offense is required to defend a civil or administrative action involving the

same matter.” Sec. & Exchange Comm’n, 628 F.2d at 1375-76. The D.C. Circuit has

recognized that when there is a pressing need, an indefinite stay may be warranted.

McSurely v. McClellan, 426 F.2d 664, 671 (D.C. Cir. 1970).

      Here, the Government has brought four charges against President Trump

including conspiracy to defraud the United States; conspiracy to obstruct an official

proceeding; obstruction of, and attempt to obstruct, an official proceeding; and

conspiracy against rights. These serious charges carry a maximum penalty of 55

years in prison. Further, as discussed above, the criminal proceedings have an

overarching impact on the public. President Trump is currently the lead candidate

for President of the United States for the Republican Party, and the top political rival

to President Joe Biden. The appearance of fair proceedings in President Trump’s

criminal proceedings is imperative to the health of this Nation. Never in our history

have we seen a current administration target its top political rival with a criminal

indictment. It is imperative that this criminal proceeding proceed without the




      4 The Government is currently seeking a trial start date of January 2, 2024. At

the very least, this case should be stayed through the Government’s requested trial
date. Defending this civil litigation, while also preparing for an expected criminal
trial, especially one where the Government has requested a trial within a couple of
months, would cause great prejudice to President Trump and only minimally burden
Plaintiff.
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burdens of this case due to the similarities of the allegations. Thus, given the

seriousness of the charges, as well as the extraordinary impact on our Nation as a

whole, there is a pressing need to stay this case as to President Trump for the

duration of the criminal proceedings against him so that he may diligently pursue his

rights.


                                    CONCLUSION


      There is significant overlap between this civil proceeding and the criminal

indictment brought against President Trump. It is in the best interests of the parties

and the public that this case be stayed pending the resolution of the criminal charges

against President Trump. Accordingly, President Trump respectfully requests this

Court stay this proceeding as it relates to him until the conclusion of his criminal case

in Washington, D.C.


Dated: August 14, 2023                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE


      I certify that on August 14, 2023, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



                                      /s/ Jesse R. Binnall
                                      Jesse R. Binnall, VA022

                                      Attorney for President Donald J. Trump




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